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 1   DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
 2   117 J Street, Suite 202
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 3   DwightSamuelAtty@Yahoo.com
     (916) 447-1193
 4
     Attorney for Defendant
 5   KEN WONG
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 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         )                 NO. 11-CR-0056-LKK
12               Plaintiff,              )
                                         )
13   v.                                  )                 ORDER RE WAIVER OF DEFENDANT'S
                                         )                 PRESENCE
14   KEN WONG,                           )
                                         )
15               Defendant.              )
                                         )
16   ____________________________________)
17
            Defendant KEN WONG hereby waives the right to be present in person in open court
18
     upon the hearing of any motion or other proceeding in this cause, including, but not limited to,
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     when the case is ordered set for trial, when a continuance is ordered, and when any other action
20
     is taken by the court before or after trial, except on arraignment, plea, impanelment of jury and
21
     imposition of sentence.
22
            Defendant hereby requests the court to proceed is his absence which the court may permit
23
     pursuant to this waiver; agrees that his interests will be deemed represented at all times by the
24
     presence of her attorney, Dwight M. Samuel, the same as if defendant were personally present;
25
     and further agrees to be present in court ready for trial any day and hour the court may fix in him
26
     absence.
27
            Defendant further acknowledges that he has been informed of his rights under Title 18
28
              Case 2:11-cr-00056-KJM Document 30 Filed 03/02/11 Page 2 of 2


 1   U.S.C. sections 3161 through 3174 (Speedy Trial Act), and authorizes his attorney to set times
 2   and dates under that Act without defendant being present.
 3
 4   DATED: February 25, 2011
 5
 6                                               /S/Ken Wong
                                                 KEN WONG
 7
 8   DATED: February 25, 2011
 9
                                                 /s/Dwight M. Samuel
10                                               DWIGHT M. SAMUEL
                                                 Attorney for Defendant
11
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13
     APPROVED: March 1, 2011
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